Case 1:08-cv-00309-LPS Document 577 Filed 04/27/12 Page 1 of 15 PageID #: 12322




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

  POWER INTEGRATIONS, INC.,

                   Plaintiff,

             v.                                      C.A. No. 08-309-LPS

  FAIRCHILD SEMICONDUCTOR INTERNATIONAL,
  INC., FAIRCHILD SEMICONDUCTOR
  CORPORATION, and SYSTEM GENERAL
  CORPORATION,

                   Defendants.


                                 VERDICT FORM
Case 1:08-cv-00309-LPS Document 577 Filed 04/27/12 Page 2 of 15 PageID #: 12323




  We, the jury, unanimously find as follows:

  I.     INFRINGEMENT OF POWER INTEGRATIONS' '605 PATENT

         1.     Has Power Integrations proven by a preponderance of the evidence that Fairchild
                literally infringes any ofthe following claims of the '605 patent?

                 "YES" is a finding for Power Integrations. "NO" is afindingfor Fairchild.

                Please check the boxes that reflect your verdict.



                                                       SG5841J Tyne Products

                                                YES                       I
                                                                               NO

              Claim 1                                                    I;
              Claim 2                                                {

         2.     Has Power Integrations proven by a preponderance of the evidence that Fairchild
                induced others to infringe any of the following claims of the '605 patent?

                 "YES" is afindingfor Power Integrations. "NO" is afindingfor Fairchild.

                 Please check the boxes that reflect your verdict.



                                                       SG5841J Tyne Products

                                                YES                            NO
              Claim 1                                                v
              Claim 2                                                /
Case 1:08-cv-00309-LPS Document 577 Filed 04/27/12 Page 3 of 15 PageID #: 12324




  II.   INFRINGEMENT OF POWER INTEGRATIONS' '270 PATENT

        3.     Has Power Integrations proven by a preponderance ofthe evidence that Fairchild
               literally infringes any of the following claims ofthe '270 patent?

               "YES" is afindingfor Power Integrations. "NO" is afindingfor Fairchild.

               Please check the boxes that reflect your verdict.



                                                     SG5841J Tyne Products

                                              YES                            NO

             Claim 6                                               v
             Claim 7                                               ~


        4.     Has Power Integrations proven by a preponderance of the evidence that Fairchild
               induced others to infringe any of the following claims ofthe '270 patent?

               "YES" is afindingfor Power Integrations. "NO" is afindingfor Fairchild.

               Please check the boxes that reflect your verdict.



                                                     SG5841J T~ne Products

                                              YES                            NO

             Claim 6                                               ;·
             Claim 7                                               v




                                                 2
Case 1:08-cv-00309-LPS Document 577 Filed 04/27/12 Page 4 of 15 PageID #: 12325




  III.   INFRINGEMENT OF POWER INTEGRATIONS' '876 PATENT

         5.    Has Power Integrations proven by a preponderance of the evidence that Fairchild
               literally infringes any ofthe following claims of the '876 patent?

               "YES" is ajindingfor Power Integrations. "NO" is ajindingfor Fairchild

               Please check the boxes that reflect your verdict.


                              SGS841J Tl:ve Products               F AN103 Tl:ve Products

                              YES              NO                  YES                NO

   Claim 1                                 I                 1/
   Claim 21                                j                 v'
                    ..
         6.    Ifyou answered "NO" for any claim(s) or product(s) in Question 5, has Power
               Integrations proven by a preponderance of the evidence that Fairchild infringes
               any of the following claims of the '876 patent under the Doctrine of Equivalents?

               "YES" is ajindingfor Power Integrations. "NO" is a finding for Fairchild.

               Please check the boxes that reflect your verdict.


                              SG5841J T1:ve Products               F AN1 03 Tl:ve Products

                          J
                              YES               NO                 YES           ..   NO

   Claim 1               -~

    Claim 21             .j




                                                 3
Case 1:08-cv-00309-LPS Document 577 Filed 04/27/12 Page 5 of 15 PageID #: 12326




        7.    Has Power Integrations proven by a preponderance of the evidence that Fairchild
              induced others to infringe any ofthe following claims of the '876 patent?

              "YES" is a finding for Power Integrations. "NO" is ajindingfor Fairchild.

              Please check the boxes that reflect your verdict.

                         SG5841J Tyne Products                    FAN103 Tyne Products

                          YES                 NO                  XES              NO

   Claim 1             ·v(                                    v
   Claim 21           ·/                                      v




                                                4
Case 1:08-cv-00309-LPS Document 577 Filed 04/27/12 Page 6 of 15 PageID #: 12327




  IV.     INFRINGEMENT OF POWER INTEGRATIONS' '851 PATENT

          8.       Has Power Integrations proven by a preponderance of the evidence that Fairchild
                   literally infringes claim 18 of the '851 patent?

                   "YES" is afindingfor Power Integrations. "NO" is afindingfor Fairchild.

                   Please check the boxes that reflect your verdict.

                              SG5841J Tl::ne Products                  SG6842J Tyne Products
                               YES                  NO                 YES              NO

        Claim 18                v:_                                    v
          9.       Has Power Integrations proven by a preponderance of the evidence that Fairchild
                   induced others to infringe claim 18 of the '851 patent?

                   "YES" is afindingfor Power Integrations. "NO" is afindingfor Fairchild.

                   Please check the box that reflects your verdict.

                              SG5841J Tl::ne Products                  SG6842J Tyne Products

                               YESI                 NO                 YE~              NO

        Claim 18                v                                      v




                                                     5
Case 1:08-cv-00309-LPS Document 577 Filed 04/27/12 Page 7 of 15 PageID #: 12328




  V.   INVALIDITY OF POWER INTEGRATIONS' '605 PATENT

       10.   Has Fairchild proven by clear and convincing evidence that any of the following
             claims of the '605 patent are anticipated and therefore invalid.

             "YES" is afindingfor Fairchild. "NO" is a finding for Power Integrations.

             Please check the boxes that reflect your verdict.

                                    YES                    NO

                    Claim 1                ]

                    Claim 2


       11.   Has Fairchild proven by clear and convincing evidence that any of the following
             claims of the '605 patent would have been obvious to a person of ordinary skill in
             the art at the time of the invention and therefore that any of the following claims
             are invalid?

             "YES" is afindingfor Fairchild. "NO" is afindingfor Power Integrations.

             Please check the boxes that reflect your verdict.

                                    YES                    NO

                    Claim 1                 ]

                    Claim 2         [       ]




                                                6
Case 1:08-cv-00309-LPS Document 577 Filed 04/27/12 Page 8 of 15 PageID #: 12329




VI.   INVALIDITY OF POWER INTEGRATIONS' '270 PATENT

      12.   Has Fairchild proven by clear and convincing evidence that any of the following
            claims of the '270 patent are anticipated and therefore invalid?

             "YES" is ajindingfor Fairchild. "NO" is afindingfor Power Integrations.

            Please check the boxes that reflect your verdict.

                                   YES                    NO

                   Claim 6                 ]              l /]
                   Claim 7                                [ v]
      13.   Has Fairchild proven by clear and convincing evidence that any of the following
            claims of the '270 patent would have been obvious to a person of ordinary skill in
            the art at the time of the invention and therefore that any of the following claims
            are invalid?

            "YES" is ajindingfor Fairchild. "NO" is afindingfor Power Integrations.

            Please check the boxes that reflect your verdict.

                                   YES                    NO

                   Claim 6

                   Claim 7         [




                                               7
Case 1:08-cv-00309-LPS Document 577 Filed 04/27/12 Page 9 of 15 PageID #: 12330




  VII.   INVALIDITY OF POWER INTEGRATIONS' '876 PATENT

         14.   Has Fairchild proven by clear and convincing evidence that any of the following
               claims of the '876 patent are anticipated and therefore invalid?

                "YES" is a finding for Fairchild. "NO" is afindingfor Power Integrations.

               Please check the boxes that reflect your verdict.

                                      YES                    NO

                      Claim 1                 ]

                      Claim 21                ]




                                                  8
Case 1:08-cv-00309-LPS Document 577 Filed 04/27/12 Page 10 of 15 PageID #: 12331




  VIII. INVALIDITY OF POWER INTEGRATIONS' '851 PATENT

        15.   Has Fairchild proven by clear and convincing evidence that claim 18 ofthe '851
              patent is anticipated and therefore invalid?

              "YES" is afindingfor Fairchild. "NO" is afindingfor Power Integrations.

              Please check the box that reflects your verdict.

                                     YES                    NO

                     Claim 18        [       ]




                                                 9
Case 1:08-cv-00309-LPS Document 577 Filed 04/27/12 Page 11 of 15 PageID #: 12332




 IX.   INFRINGEMENT OF FAIRCHILD'S '972 PATENT

       16.   Has Fairchild proven by a preponderance of the evidence that Power Integrations
             infringes any of the following claims ofthe '972 patent?

             "YES" is ajindingfor Fairchild. "NO" is a finding for Power Integrations.

             Please check the boxes that reflect your verdict.

                                    YES                    NO

                    Claim 6                                  ·/]
                    Claim 7                                  VJ
                    Claim 18        [       ]              [ v]
                    Claim 19                               [ VJ

       17.   If you answered "NO" for any claim(s) in Question 16, has Fairchild proven by a
             preponderance of the evidence that Power Integrations infringes any ofthe
             following claims of the '972 patent under the Doctrine of Equivalents?

              "YES" is a finding for Fairchild. "NO" is ajindingfor Power Integrations.

             Please check the boxes that reflect your verdict.

                                    YES                    NO

                    Claim 6         [   j                  [     ]

                    Claim 7         r/                     [

                    Claim 18        1· / )                 [     ]

                    Claim 19        [   /]                 [     ]




                                                10
Case 1:08-cv-00309-LPS Document 577 Filed 04/27/12 Page 12 of 15 PageID #: 12333




       18.   Has Fairchild proven by a preponderance of the evidence that Power Integrations
             induced others to infringe any ofthe following claims of the '972 patent?

              "YES" is afindingfor Fairchild. "NO" is afindingfor Power Integrations.

             Please check the boxes that reflect your verdict.

                                    YES                    NO

                    Claim 6                 ]                /        ]

                    Claim 7                 ]                    v'   ]

                    Claim 18                ]                    vJ
                    Claim 19        [       ]                    v'J




                                                11
Case 1:08-cv-00309-LPS Document 577 Filed 04/27/12 Page 13 of 15 PageID #: 12334




 X.   INFRINGEMENT OF FAIRCHILD'S '595 PATENT

       19.   Has Fairchild proven by a preponderance ofthe evidence that Power Integrations
             literally infringes any of the following claims of the '595 patent?

             "YES" is ajindingfor Fairchild "NO" is afindingfor Power Integrations.

             Please check the boxes that reflect your verdict.

                                    YES                    NO

                    Claim 17

                    Claim 22


       20.   If you answered "NO" for any claim(s) in Question 19, has Fairchild proven by a
             preponderance of the evidence that Power Integrations infringes any of the
             following claim(s) of the '595 patent under the Doctrine of Equivalents?

             "YES" is ajindingfor Fairchild. "NO" is afindingfor Power Integrations.

             Please check the boxes that reflect your verdict.

                                    YES                    NO

                    Claim 17        [       ]

                    Claim 22        [


       21.   Has Fairchild proven by a preponderance of the evidence that Power Integrations
             induced others to infringe any of the following claims of the '595 patent?

              "YES" is ajindingfor Fairchild "NO" is ajindingfor Power Integrations.

             Please check the boxes that reflect your verdict.

                                    YES                    NO

                    Claim 17        [       )

                    Claim 22        [       ]


                                                12
Case 1:08-cv-00309-LPS Document 577 Filed 04/27/12 Page 14 of 15 PageID #: 12335




 XI.   INVALIDITY OF FAIRCHILD'S '972 PATENT

       22.   Has Power Integrations proven by clear and convincing evidence that any of the
             following claims of the '972 patent would have been obvious to a person of
             ordinary skill in the art at the time of the invention and therefore that any of the
             following claims are invalid?

             "YES" is a finding for Power Integrations. "NO" is ajindingfor Fairchild.

             Please check the boxes that reflect your verdict.


                                    YES                     NO

                    Claim 6                 ]                    /
                    Claim 7                                      /
                     Claim 18        [      ]               [    /J
                     Claim 19                                    /]




                                                13
Case 1:08-cv-00309-LPS Document 577 Filed 04/27/12 Page 15 of 15 PageID #: 12336




XII.   INVALIDITY OF FAIRCHILD'S '595 PATENT

       23.   Has Power Integrations proven by clear and convincing evidence that any of the
             following claims of the '595 patent are anticipated and therefore invalid?

             "YES" is afindingfor Power Integrations. "NO" is afindingfor Fairchild.

             Please check the boxes that reflect your verdict.

                                   YES                    NO

                    Claim 17

                    Claim 22




                                              14
